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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

 HOWARD MICHAEL CAPLAN,

                Plaintiff,

                vs.

 STELLA ENTERPRISES LLC, a Florida
 Limited Liability Company d/b/a GLOBAL
 AUTO REPAIR and SEVENTH AVE.
 GROUP LLC, a Florida Limited Liability
 Company,

             Defendants.
 _______________________________/

                                           COMPLAINT

 Plaintiff, HOWARD MICHAEL CAPLAN (hereinafter “Plaintiff”), through the undersigned

 counsel, hereby files this Complaint and sues STELLA ENTERPRISES LLC d/b/a GLOBAL

 AUTO REPAIR (“STELLA”) and SEVENTH AVE. GROUP LLC (“SEVENTH AVE”)

 (hereinafter, collectively referred to as “Defendants”) for declaratory and injunctive relief; for

 discrimination based on disability; and for the resultant attorney's fees, expenses, and costs

 (including, but not limited to, court costs and expert fees), pursuant to 42 U.S.C. §12181 et. seq.,

 ("AMERICANS WITH DISABILITIES ACT OF 1990," or "ADA") and alleges:



 JURISDICTION
 1.     This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

 §1331 and §1343 for Plaintiff’s claims arising under Title 42 U.S.C. §12181 et. seq., based on

 the Defendants’ violations of Title III of the Americans with Disabilities Act of 1990,

 (hereinafter referred to as the "ADA"). See also 28 U.S.C. §2201 and §2202.

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 VENUE
 2.      The venue of all events giving rise to this lawsuit is located in Miami-Dade County,

 Florida. Pursuant to 28 U.S.C. §1391(B) and Rule 3.1 of Local Rules of the United States

 District Court for the Southern District of Florida, this is the designated court for this suit.



 PARTIES
 3.      Plaintiff, HOWARD MICHAEL CAPLAN, is a resident of the State of Florida. At the

 time of Plaintiff’s visit to Global Auto Repair (“Subject Facility”), Plaintiff suffered from a

 “qualified disability” under the ADA, which substantially limits Plaintiff’s major life activities,

 including but not limited to walking, and requires the use of a mobility aid. Plaintiff personally

 visited Global Auto Repair, but was denied full and equal access, and full and equal enjoyment

 of the facilities, services, goods, and amenities within Global Auto Repair, which is the subject

 of this lawsuit. The Subject Facility is an auto repair, and Plaintiff wanted to inquire about their

 services but was unable to due to the discriminatory barriers enumerated in Paragraph 15 of this

 Complaint.



 4.      In the alternative, Plaintiff, HOWARD MICHAEL CAPLAN, is an advocate of the rights

 of similarly situated disabled persons and is a “tester” for the purpose of asserting his civil rights

 and monitoring, ensuring, and determining whether places of public accommodation are in

 compliance with the ADA.



 5.      The Defendants, STELLA and SEVENTH AVE, are authorized to conduct business and

 are in fact conducting business within the State of Florida. The Subject Facility is located at

 12065 NW 7 Ave, North Miami FL 33168. Upon information and belief, STELLA is the lessee



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 and/or operator of the Real Property and therefore held accountable of the violations of the ADA

 in the Subject Facility which is the matter of this suit. Upon information and belief, SEVENTH

 AVE is the owner and lessor of the Real Property where the Subject Facility is located and

 therefore held accountable for the violations of the ADA in the Subject Facility which is the

 matter of this suit.



 CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT


 6.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 5 of this

 complaint, as are further explained herein.



 7.      On July 26, 1990, Congress enacted the Americans with Disabilities Act ("ADA"), 42

 U.S.C. §12101 et. seq. Commercial enterprises were provided one and a half years from

 enactment of the statute to implement its requirements. The effective date of Title III of the ADA

 was January 26, 1992, or January 26, 1993 if Defendants had ten (10) or fewer employees and

 gross receipts of $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).



 8.      As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found, among other

 things, that:

         i. some 43,000,000 Americans have one or more physical or mental disability, and this
           number shall increase as the population continues to grow and age;

         ii. historically, society has tended to isolate and segregate individuals with disabilities
            and, despite some improvements, such forms of discrimination against disabled
            individuals continue to be a pervasive social problem, requiring serious attention;

         iii. discrimination against disabled individuals persists in such critical areas as
            employment, housing, public accommodations, transportation, communication,
            recreation, institutionalization, health services, voting and access to public services and

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          public facilities;

        iv. individuals with disabilities continually suffer forms of discrimination, including:
          outright intentional exclusion; the discriminatory effects of architectural, transportation,
          and communication barriers; failure to make modifications to existing facilities and
          practices; exclusionary qualification standards and criteria; segregation, and regulation
          to lesser services, programs, benefits, or other opportunities; and,

        v. the continuing existence of unfair and unnecessary discrimination and prejudice denies
          people with disabilities the opportunity to compete on an equal basis and to pursue
          those opportunities for which this country is justifiably famous and costs the United
          States billions of dollars in unnecessary expenses resulting from dependency and non-
          productivity.

 9.     As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated that the

 purpose of the ADA was to:

        i. provide a clear and comprehensive national mandate for the elimination of
          discrimination against individuals with disabilities;

        ii. provide clear, strong, consistent, enforceable standards addressing discrimination
           against individuals with disabilities; and,

        iii. invoke the sweep of congressional authority, including the power to enforce the
           fourteenth amendment and to regulate commerce, in order to address the major areas of
           discrimination faced on a daily basis by people with disabilities.

 10.    Pursuant to 42 U.S.C. §12181(7) and 28 CFR §36.104, Title III, no individual may be

 discriminated against on the basis of disability with regards to the full and equal enjoyment of

 the goods, services, facilities, or accommodations of any place of public accommodation by any

 person who owns, leases (or leases to), or operates a place of public accommodation. Global

 Auto Repair is a place of public accommodation by the fact it is an establishment that provides

 goods/services to the general public, and therefore, must comply with the ADA. The Subject

 Facility is open to the public, its operations affect commerce, and it is a service establishment.

 See 42 U.S.C. Sec. 12181 (7) and 28 C.F.R. 36.104. Therefore, the Subject Facility is a public

 accommodation that must comply with the ADA.



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 11.     The Defendants have discriminated and continue to discriminate against Plaintiff and

 others who are similarly situated by denying access to, and full and equal enjoyment of goods,

 services, facilities, privileges, advantages and/or accommodations at Global Auto Repair located

 at 12065 NW 7 Ave, North Miami FL 33168, as prohibited by 42 U.S.C. §12182 and 42 U.S.C.

 §12101 et. seq.; by failing to make reasonable modifications in policies, practices, or procedures

 pursuant to 42 U.S.C. §12182(b)(2)(A)(ii); and by failing to remove architectural barriers

 pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



 12.     Plaintiff has visited the Subject Facility and has been denied full, safe, and equal access

 to the facility and therefore suffered an injury in fact.



 13.     Plaintiff shall suffer a future injury as Plaintiff intends to return and enjoy the goods

 and/or services at the Subject Facility within the next six months. The Subject Facility is in close

 proximity to Plaintiff’s residence and is in an area frequently travelled by Plaintiff. Furthermore,

 Plaintiff will also return to monitor compliance with the ADA. However, Plaintiff is precluded

 from doing so by the Defendants' failure and refusal to provide people with disabilities with full

 and equal access to their facility. Therefore, Plaintiff continues to suffer from discrimination and

 injury due to the architectural barriers, which are in violation of the ADA.



 14.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department of

 Justice, Office of the Attorney General, promulgated Federal Regulations to implement the

 requirements of the ADA. The ADA Accessibility guidelines (hereinafter referred to as

 “ADAAG”), 28 C.F.R. Part 36, may cause violators to obtain civil penalties of up to $55,000 for



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 the first violation and $110,000 for any subsequent violation.



 15.      The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28 C.F.R. 36.302 et.

 seq., and are discriminating against Plaintiff with the following specific violations which

 Plaintiff personally encountered and/or has knowledge of:

       a) The customer parking facility in front of the auto repair shop does not provide a

          compliant accessible parking space. 2010 ADA Standards 502.1

       b) The parking facility does not have the minimum number of accessible parking spaces

          required. 2010 ADA Standards 208.2

       c) The business has customer parking in front of the main office entrance. One (1)

          compliant accessible parking space with adjacent access aisle is required. 2010 ADA

          Standards 208.2

       d) If a total of 4 or fewer parking spaces (inaccessible and accessible) are provided on a site,

          the required accessible space does not have to be identified by a sign (i.e., reserved

          exclusively for use of people with disabilities) (§216.5, Ex. 1). However, all other

          requirements for spaces, including access aisles, still apply. 2010 ADA Standards 216.5

       e) Existing facility does not provide a compliant accessible route to the main customer

          entrance from any site arrival point. 2010 ADA Standards 206.2, 208, 401.1

       f) There is no compliant access aisle attached to an accessible route serving any existing

          parking space which would allow safe entrance or exit of vehicle for accessible persons

          requiring mobility devices. 2010 ADA Standards 502.2

       g) There is currently no existing accessible route to help persons with disabilities enter the

          facility or safely maneuver through the parking area. At least one accessible route must

          be provided within the site from accessible parking spaces and accessible passenger

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          loading zones; public streets and sidewalks; and public transportation stops to the

          accessible building or facility entrance they serve. 2010 ADA Standards 206.2.1

       h) The main customer entrance is non-compliant. There is a step from the parking lot up to

          the main customer entrance exceeding the maximum rise allowed. Having one step at the

          entrance can prevent access by a person using a wheelchair, walker, or cane and can

          make entry difficult for many other people with mobility disabilities. 2010 ADA

          Standards 302.2

       i) The clear maneuvering area in front of the main customer door is too small. The main

          entrance door requires a minimum 60” wide level landing to allow persons with mobility

          issues to safely enter the building. Maneuvering clearances must extend the full width of

          the doorway and the required latch side of 18 inches side clearance. 2010 Standards

          404.2.

       j) The main customer entrance door has non-compliant pull-type door hardware. Operable

          parts must be operable with one hand and not require tight grasping, pinching, or twisting

          of the wrist. 2012 ADA Standards 309.4

       k) The facility does not provide compliant directional and informational signage to an

          accessible route which would lead to an accessible entrance. Where not all entrances

          comply, compliant entrances must be identified by the International Symbol of

          Accessibility. Directional signs that indicate the location of the nearest compliant

          entrance must be provided at entrances that do not comply. 2010 ADA Standards 216.6



 16.      Upon information and belief, there are other current violations of the ADA at Global

 Auto Repair. Only upon full inspection can all violations be identified. Accordingly, a complete



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 list of violations will require an on-site inspection by Plaintiff’s representatives pursuant to Rule

 34b of the Federal Rules of Civil Procedure.



 17.    Upon information and belief, Plaintiff alleges that removal of the discriminatory barriers

 and violations is readily achievable and technically feasible. To date, the readily achievable

 barriers and other violations of the ADA still exist and have not been remedied or altered in such

 a way as to effectuate compliance with the provisions of the ADA.



 18.    Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304, the Defendants

 were required to make the establishment a place of public accommodation, accessible to persons

 with disabilities by January 28, 1992. As of this date, the Defendants have failed to comply with

 this mandate.



 19.    Plaintiff has been obligated to retain the undersigned counsel for the filing and

 prosecution of this action. Plaintiff is entitled to have its reasonable attorney's fees, costs and

 expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.



 20.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

 injunctive relief, including an Order to alter the subject facilities to make them readily accessible

 and useable by individuals with disabilities to the extent required by the ADA, closing the

 Subject Facility until the requisite modifications are completed, entering an Order directed at

 maintenance and future compliance, and entering an Order for the Defendants to make

 reasonable modifications in policies, practices, or procedures.



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                             COUNT I - DECLARATORY RELIEF


 21.     Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

 through 20 above as though fully set forth verbatim herein.



 22.     The Defendants have discriminated and continue to discriminate against Plaintiff and

 others who are similarly situated by denying access to, and full and equal enjoyment of goods,

 services, facilities, privileges, advantages and/or accommodations at the Subject Facility, as

 prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq.; by failing to make reasonable

 modifications in policies, practices, or procedures pursuant to 42 U.S.C. §12182(b)(2)(A)(ii); and

 by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



 23.     By failing to remove the architectural barriers set forth in paragraph 15, by failing to

 make reasonable modifications in policies, practices, or procedures to address discriminatory

 practices, and by failing to ensure compliance with the mandates of the ADA, the Defendants

 have discriminated and continue to discriminate against Plaintiff by denying access to, and full

 and equal enjoyment of goods, services, facilities, privileges, advantages and/or accommodations

 at the Subject Facility.



 24. Unless declared that the Subject Facility owned, operated and/or controlled by the

 Defendants is in violation of the ADA, the Defendants shall continue to discriminate against

 Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

 of goods, services, facilities, privileges, advantages and/or accommodations at the Subject

 Facility.

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          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court declare that the Subject Facility owned, operated, and/or controlled by the

  Defendants is in violation of Title III of the ADA and award reasonable attorney's fees, all costs

  (including, but not limited to court costs and expert fees), and other expenses of suit, to Plaintiff.



     COUNT II - INJUNCTIVE RELIEF TO REMOVE ARCHITECTURAL BARRIERS


  25.     Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  26.     By failing to remove the architectural barriers set forth in paragraph 15, the Defendants

  have discriminated and continue to discriminate against Plaintiff by denying access to, and full

  and equal enjoyment of goods, services, facilities, privileges, advantages and/or accommodations

  at the Subject Facility.



  27.     Unless enjoined by the Court, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject

  Facility by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



  28.     Injunctive relief requiring the Defendants to remove the architectural barriers set forth in

  paragraph 15 is necessary to make the Subject Facility accessible to and usable by individuals

  with disabilities to the full extent required by Title III of the ADA.




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          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court enter an Order requiring the Defendants to alter the Subject Facility and remove

  architectural barriers to make the Subject Facility accessible to and usable by individuals with

  disabilities to the full extent required by Title III of the ADA, and award reasonable attorney's

  fees, all costs (including, but not limited to court costs and expert fees) and other expenses of

  suit, to Plaintiff.



        COUNT III - INJUNCTIVE RELIEF TO MODIFY POLICIES, PRACTICES AND
                                            PROCEDURES


  29.     Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  30.     By failing to make reasonable modifications in policies, practices, or procedures to

  address discriminatory practices and to ensure compliance with the mandates of the ADA, the

  Defendants have discriminated and continue to discriminate against Plaintiff by denying access

  to, and full and equal enjoyment of goods, services, facilities, privileges, advantages and/or

  accommodations at the Subject Facility.



  31.     Unless enjoined by the Court, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject

  Facility by failing to make reasonable modifications in policies, practices, or procedures pursuant

  to 42 U.S.C. §12182(b)(2)(A)(ii).



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  32.     Injunctive relief requiring the Defendants to make reasonable modifications in policies,

  practices, or procedures to address discriminatory practices is necessary to make the Subject

  Facility accessible to and usable by individuals with disabilities to the full extent required by

  Title III of the ADA.



          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court enter an Order requiring the Defendants to evaluate, neutralize, and modify

  their policies, practices, and procedures as are necessary to make the Subject Facility accessible

  to and usable by individuals with disabilities to the full extent required by Title III of the ADA,

  and award reasonable attorney's fees, all costs (including, but not limited to court costs and

  expert fees) and other expenses of suit, to Plaintiff.



             COUNT IV- INJUNCTIVE RELIEF TO MAINTAIN COMPLIANCE


  33.     Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  34.     By failing to remove the architectural barriers set forth in paragraph 15, by failing to

  make reasonable modifications in policies, practices, or procedures to address discriminatory

  practices, and by failing to ensure compliance with the mandates of the ADA, the Defendants

  have discriminated and continue to discriminate against Plaintiff by denying access to, and full

  and equal enjoyment of goods, services, facilities, privileges, advantages and/or accommodations

  at the Subject Facility.




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  35.     Even if the Defendants remove the architectural barriers set forth in paragraph 15, and

  make reasonable modifications in policies, practices, or procedures to address discriminatory

  practices, it is clear that the Defendants will fail to maintain compliance with the ADA by

  allowing physical alterations to revert back into noncompliance and by failing to enforce any

  modifications in policies, practices, or procedures.



  36.     Unless enjoined by the Court, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject

  Facility by failing to maintain compliance with the ADA by allowing physical alterations to

  revert back into noncompliance and by failing to enforce any modifications in policies, practices,

  or procedures.



  37.     Injunctive relief requiring the Defendants to maintain compliance is necessary to make

  the Subject Facility accessible to and usable by individuals with disabilities to the full extent

  required by Title III of the ADA.



          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court enter an Order requiring the Defendants to maintain the alterations and

  modifications required to keep the Subject Facility accessible to and usable by individuals with

  disabilities and in compliance with Title III of the ADA, and award reasonable attorney's fees, all

  costs (including, but not limited to court costs and expert fees) and other expenses of suit, to

  Plaintiff.



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  Dated this January 22, 2024.


  Respectfully submitted by:

  Ronald E. Stern
  Ronald E. Stern, Esq.
  Florida Bar No. 10089
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  Attorney for Plaintiff, HOWARD MICHAEL CAPLAN




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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

  HOWARD MICHAEL CAPLAN,

                Plaintiff,

                vs.

  STELLA ENTERPRISES LLC, a Florida
  Limited Liability Company d/b/a GLOBAL
  AUTO REPAIR and SEVENTH AVE.
  GROUP LLC, a Florida Limited Liability
  Company,

              Defendants.
  _______________________________/

                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 22, 2024, I electronically filed the Complaint
  along with a Summons for each Defendant with the Clerk of Court using CM/ECF. I also certify
  that the aforementioned documents are being served on all counsel of record, corporations, or pro
  se parties identified on the attached Service List in the manner specified via Service of Process
  by an authorized Process Server, and that all future pleadings, motions and documents will be
  served either via transmission of Notices of Electronic Filing generated by CM/ECF or via U.S.
  Mail for those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.

  By: Ronald E. Stern
  Ronald E. Stern, Esq.
  Florida Bar No.: 10089
  THE ADVOCACY LAW FIRM, P.A.
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  Attorney for Plaintiff HOWARD MICHAEL CAPLAN




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                                     SERVICE LIST:

     HOWARD MICHAEL CAPLAN, Plaintiff, vs. STELLA ENTERPRISES LLC, a Florida
    Limited Liability Company d/b/a GLOBAL AUTO REPAIR and SEVENTH AVE. GROUP
                           LLC, a Florida Limited Liability Company

                  United States District Court Southern District of Florida

                                         Case No.


  STELLA ENTERPRISES LLC d/b/a GLOBAL AUTO REPAIR

  REGISTERED AGENT:

  FERNANDEZ, OSCAR
  12065 NW 7 AVE
  NORTH MIAMI, FL 33168

  VIA PROCESS SERVER


  SEVENTH AVE. GROUP LLC

  REGISTERED AGENT:

  SUPRASKI, LOUIS A.
  16666 NE 19 AVE.
  113
  NORTH MIAMI BEACH, FL 33162

  VIA PROCESS SERVER




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